Case 1:22-cr-10033-FDS Document 1-1 Filed 02/09/22 Page 1 of 2

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

 

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency GSA-OIG
City _Boston Related Case Information:
County _Suffolk Superseding Ind./ Inf. Case No.
Same Defendant New Defendant

 

Magistrate Judge Case Number
Search Warrant Case Number 21-1336-DLC, 21-6403,6404-MPK, 21-2301-MBB

R 20/R 40 from District of

 

 

Defendant Information:

 

 

 

 

 

Defendant Name’ Kevin Richards Juvenile: [| Yes No

Is this person an attorney and/or a member of any state/federal bar: [ | Yes No
Alias Name n/a
Address (City & State) Hanover, MA
Birth date (Yr only): 1970 SSN (last4#): 3442 Sex M __ Race: W Nationality: US
Defense Counsel if known: Peter K. Levitt Address Donnelly, Conroy & Gelhaar, LLP
Bar Number 565761 260 Franklin St., Suite 1600

 

Boston, MA 02110
U.S. Attorney Information:

 

 

 

AUSA Dustin Chao, Christine Wichers Bar Number if applicable _631857
Interpreter: [ ] Yes No List language and/or dialect:
Victims: [_ lYes [Y]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ | Yes [ | No
Matter to be SEALED: [| Yes No
[ }Warrant Requested Regular Process [ ] In Custody

Location Status:

Arrest Date

 

 

 

 

 

 

[_ ]Already in Federal Custody as of in

[_ ]Already in State Custody at [_ |Serving Sentence [Awaiting Trial
[] On Pretrial Release: | Ordered by: on

Charging Document: [| Complaint Information [| Indictment

Total # of Counts: [_ ]Petty —< [_|Misdemeanor ——— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 02/09/2022 Signature of AUSA: she Oo
Case 1:22-cr-10033-FDS Document 1-1 Filed 02/09/22

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 2 of 2

 

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Kevin Richards

Index Key/Code

Set 1 18 USC 201(c)(1)(B)

Set 2 18 USC 1001(a)(2)

 

U.S.C. Citations

Description of Offense Charged

Receipt of Illegal Gratuity by a Public Official

False Statements

2-3

Count Numbers

 

Set 3 18 USC 981, 28 USC 2461

Forfeiture Allegation

 

Set 4

 

 

Set 5

 

 

Set 6

 

 

Set 7

 

 

Set 8

 

Set 9

 

 

 

Set 10

 

 

Set 11

 

Set 12

 

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL INFORMATION:

 

 

 

 

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
